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MEMORANDUM ENDORSED                                                                                      USDC SDNY
                                                                                                         DOCUMENT
           S BA IT I & C O M P AN Y                                                                      ELECTRONICALLY FILED
            A TEXAS PROFESSIONAL LIMITED LIABILITY COMPANY
                                                                                                         DOC #:
                                                                                                         DATE FILED: 6/21/2023



   June 21, 2023


   Via E-File
   Honorable Gregory H. Woods
   U.S. District Judge
   Southern District of New York
   500 Pearl Street, Room 2260
   New York, NY 10007

          Re:       U.S. Bank, National Association, et al v.
                    The Charitable Donor Advised Fund, L.P. et al,
                    No. 1:21-cv-11059-GHW, United States District Court,
                    Southern District of New York

   Unopposed Letter Motion for Extension of Time

   Dear Judge Woods:

          I write on behalf of Defendant/Counter-Plaintiff NexPoint Diversified Real Estate Trust
   regarding the Court’s May 30, 2023 Order setting a briefing schedule for Brigade Capital
   Management, LP’s Motion to Dismiss, ECF No. 117 (“Briefing Order”). NexPoint respectfully
   requests an Order granting a short, five-day extension of time for the submission of its response to
   Brigade Capital Management, LP’s Motion to Dismiss, ECF No. 119, from Wednesday, June 21
   until Monday, June 26, 2023, and for an equal extension of Brigade’s deadline for its reply brief
   from July 5, 2023 until July 10, 2023.
           This is NexPoint’s first request to continue this briefing schedule. The request is
   necessitated by NexPoint’s lead counsel’s absence this week, unexpected last minute
   developments in other pending matters, namely, third-party depositions that were scheduled in
   Amarillo at the last minute in the matter Salt & Light Energy and Equipment, LLC v. Origin
   Bancorp, No. 3:22-cv-00654-N (N.D. Tex.), deadlines in the same matter for Monday, June 19,
   2023, which took longer than expected to meet, and other developments in several other matters
   which unexpectedly took longer than expected. While Brigade’s motion to dismiss is largely
   parallel to the arguments raised by Plaintiffs/Counter-Defendants already, certain specific issues
   bear addressing for the Court’s benefit.




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        Brigade does not oppose NexPoint’s request for an extension of time so long as Brigade is
granted an equal extension of its deadline on reply. This request for a brief extension of time will
not affect any other scheduled dates in the Briefing Order.
       The Parties respectfully request that the Court order this stipulated extension of deadlines.


                                                     Yours very truly,


                                                     /s/ Mazin A. Sbaiti
                                                     Mazin A. Sbaiti

Application granted. NexPoint's opposition is due no later than June 26, 2023. Brigade's reply, if any, is
due no later than July 10, 2023.
The Clerk of Court is directed to terminate the motion pending at Dkt. No. 144.

SO ORDERED.
                                                                         _____________________________________
Dated: June 21, 2023                                                           GREGORY H. WOODS
New York, New York                                                            United States District Judge
